       Case 1:20-cv-01468-CJN           Document 48       Filed 07/01/20      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

COMMONWEALTH OF PENNSYLVANIA               )
et al.,                                    )              Civil Action No. 1:20-cv-01468-CJN
                                           )
       Plaintiffs,                         )
                                           )
v.                                         )
                                           )
ELISABETH D. DEVOS, in her official        )
capacity as Secretary of Education et al., )
                                           )
       Defendants.                         )
__________________________________________)


               DEFENDANTS’ RESPONSE TO MOTION TO INTERVENE

       Regarding movant-intervenors’ motion to intervene as defendants [ECF No. 27],

Defendants take no position with respect to intervention as of right, and consent with respect to

permissive intervention.

Dated: July 1, 2020                          Respectfully submitted,

                                             JOSEPH H. HUNT
                                             Assistant Attorney General

                                             CARLOTTA P. WELLS
                                             Assistant Branch Director


                                               /s/ Daniel Riess
                                             DANIEL RIESS (Texas Bar No. 24037359)
                                             Trial Attorney
                                             United States Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L Street, N.W.
                                             Washington, D.C. 20005
                                             Tel: (202) 353-3098
                                             Fax: (202) 616-8460
                                             Daniel.Riess@usdoj.gov
                                             Attorneys for Defendants



                                                 1
